
IN RE ERASMO GONZALEZ






NO. 07-02-0277-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JULY 9, 2002



______________________________





IN RE ERASMO GONZALEZ, RELATOR





_______________________________



Before QUINN and REAVIS and JOHNSON, JJ.

By this original proceeding, relator Erasmo Gonzalez, an inmate proceeding 
pro se
 and
 informa pauperis
, seeks a writ of mandamus to compel the Judge of the 69th District Court to set a hearing and rule on a motion for writ of mandamus to compel the District Clerk of Dallam County to produce a public record. &nbsp;By opinion dated March 8, 2002, in cause number 07-02-0105-CV, this Court denied a petition for writ of mandamus by which relator sought the same relief he requests by this proceeding. &nbsp;For the same reasons expressed in our prior opinion, relator’s motion for leave to file a petition for writ of mandamus and his petition for writ of mandamus must be denied.

An original proceeding filed in this Court must comply with the requirements of Rule 52 of the Texas Rules of Appellate Procedure. &nbsp;Rule 52.3 sets forth the mandatory requirements of a petition as follows:

(a) Identity of Parties and Counsel

(b) Table of Contents

(c) Index of Authorities

(d) Statement of the Case

(e) Statement of Jurisdiction

(f) Issues Presented

(g) Statement of Facts

(h) Argument

(i) Prayer

(j) Appendix



Relator’s petition is in substantial compliance with only subparagraphs (e) and (i). &nbsp;Otherwise, the petition lacks the necessary information for this Court to determine whether relator is entitled to the relief he seeks. &nbsp;Specifically, relator has failed to provide a certified or sworn copy of the motion he filed in the 69th District Court showing the matter of which he complains. &nbsp;Tex. R. App. P. 52.3(j)(1)(A). &nbsp;As stated in our prior opinion, relator has not demonstrated that he has requested and been refused a hearing on his pending motion. &nbsp;Even a 
pro se
 applicant for a writ of mandamus must show himself entitled to the relief he seeks. &nbsp;Barnes v. State, 832 S.W.2d 424, 426 (Tex.App.–Houston [1st Dist.] 1992, orig. proceeding).

Accordingly, relator’s motion for leave to file a petition for writ of mandamus and his petition for writ of mandamus are hereby denied.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;Justice



Do not publish.


